           Case 2:24-cv-00675-RAJ           Document 9        Filed 08/05/24    Page 1 of 104




 1                                                                        The Hon. Richard A. Jones
 2
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 6
 7                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
 8
                                         AT SEATTLE
 9
10   UNITED STATES OF AMERICA,                           NO. CV24-675-RAJ
11                           Plaintiff,
                                                         DECLARATION OF
12                      v.                               AUSA KRISTA K. BUSH
                                                         IN SUPPORT OF REQUEST FOR
13   APPROXIMATELY 74,000 ITEMS OF                       CLERK OF COURT TO
14   STOLEN MERCHANDISE,                                 ENTER DEFAULT

15                            Defendant.
16
17         I, KRISTA K. BUSH, declare and say:

18         1.      I am an Assistant United States Attorney for the Western District of

19 Washington, and I am assigned to represent the United States in this case.
20         2.      The United States reviewed the underlying investigative and administrative

21 material in this case to identify potential claimants to the Defendant Property and sent
22 notice of this civil forfeiture action by means reasonably calculated to reach each of the
23 following identified potential claimants:
24                 a.        Andrey Balun and Vitality Bobak, the two individuals who

25 organized and conducted the fraud;
26                 b.        Natasha Balun and Nadezhda Bobak, their respective spouses; and

27
     Declaration of AUSA Krista K. Bush                                     UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     in Support of Request for Clerk of Court to Enter Default - 1           SEATTLE, WASHINGTON 98101
     United States v. Approximately 74,000 Items of Stolen Merchandise,            (206) 553-7970
     CV24-675-RAJ
           Case 2:24-cv-00675-RAJ           Document 9        Filed 08/05/24   Page 2 of 104




 1                 c.      MBA Trading LLC and Medicus LLC aka Medikus, two business
 2 entities registered to Andrey Balun and involved in the fraud.
 3 May 16, 2024 Direct Notice
 4         3.      On May 16, 2024, the United States sent a copy of the Verified Complaint
 5 for Forfeiture in Rem, the Notice of Complaint in Rem, and the Warrant of Arrest in Rem
 6 (the “Notice”) by U.S. Certified Mail to 14 addresses currently or recently associated
 7 with the identified potential claimants. See Exhibit A. The addresses included current and
 8 recent residence and business addresses obtained through investigative records and open-
 9 source research.
10                 a.      Vitaliy Bobak and Nadezhda Bobak: The United States sent Notices
11 to four addresses in Washington: the Bobaks’ current Federal Way residence and three
12 former residences in Auburn and Kent. See Exhibit A, p. 1. True and correct copies of the
13 associated delivery records are attached in Exhibit C. U.S. Postal Service tracking records
14 reflect attempts to deliver the Notice sent to the Bobaks’ current Federal Way residence
15 on May 17, 2024 and May 22, 2024, before the Notice was returned to the United States,
16 marked “unclaimed.” See Exhibit C, pp. 4-7. One Notice sent to a prior Bobak residence
17 in Auburn was awaiting delivery as of May 18, 2024; no other information is available.
18 See Exhibit C, pp. 1-3. The other two Notices were returned as “unclaimed,” “unknown,”
19 or “unable to forward,” after multiple delivery attempts See Exhibit C, pp. 8-15.
20                 b.      Andrey Balun and Natasha Balun: The United States sent eight
21 Notices to addresses associated with the Baluns in California, Nevada, and Washington.
22 See Exhibit A, p. 2. True and correct copies of the associated delivery records are
23 attached in Exhibits B, E, and F. U.S. Postal Service tracking records confirm that one
24 Notice was successfully delivered to an address in Bellevue on or about May 17, 2024.
25 See Exhibit E, pp. 1-3. After one Notice was refused upon attempted delivery on May 20,
26 2024, it was returned to the United States. See Exhibit B, pp. 1-5. The other Notices were
27
     Declaration of AUSA Krista K. Bush                                    UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     in Support of Request for Clerk of Court to Enter Default - 2          SEATTLE, WASHINGTON 98101
     United States v. Approximately 74,000 Items of Stolen Merchandise,           (206) 553-7970
     CV24-675-RAJ
           Case 2:24-cv-00675-RAJ           Document 9        Filed 08/05/24   Page 3 of 104




 1 returned to the United States, marked “unclaimed,” “undeliverable,” or “unable to
 2 forward.” See Exhibit B, pp. 6-25 and Exhibit F.
 3         c.      MBA Trading LLC: The United States sent a Notice to the registered
 4 address of this business entity – the Burien storefront in which Bobak, Balun, and the two
 5 businesses purchased stolen merchandise. See Exhibit A, p. 2. U.S. Postal Service
 6 tracking records indicate this Notice was returned to the United States as “undeliverable,”
 7 “vacant,” and “unable to forward.” True and correct copies of the associated delivery
 8 records are attached in Exhibit D. Records maintained by the Washington Secretary of
 9 State reflect this business entity is delinquent. True and accurate copies of an Amended
10 Annual Report, filed on November 17, 2023, and Delinquent Annual Report Notice, filed
11 on April 1, 2024, are attached in Exhibit K.
12         d.      Medicus LLC aka Medikus: The United States sent a Notice to the
13 Bellevue business address registered to this entity. See Exhibit A, p. 2. U.S. Postal
14 Service records confirm this Notice was delivered on or about May 17, 2024. True and
15 correct copies of the associated delivery records are attached in Exhibit G. Records
16 maintained by the Washington Secretary of State reflect this business entity has been
17 administratively dissolved. True and accurate copies of the most recent Annual Report,
18 filed on May 10, 2022, and Administrative Dissolution, filed on August 3, 2023, are
19 attached in Exhibit L.
20 June 11, 2024 Direct Notice
21         4.      On June 11, 2024, the United States sent a second Notice to the Bobaks’
22 current Federal Way address and sent Notices to additional addresses associated with
23 other identified potential claimants. See Exhibit H, p. 1.
24                 a.      Vitaliy Bobak and Nadezhda Bobak: U.S. Postal Service tracking
25 records reflect attempts to deliver the second Notice sent to the Bobaks’ current residence
26 on June 12, 2024 and June 17, 2024, before it was returned to the United States, marked
27
     Declaration of AUSA Krista K. Bush                                    UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     in Support of Request for Clerk of Court to Enter Default - 3          SEATTLE, WASHINGTON 98101
     United States v. Approximately 74,000 Items of Stolen Merchandise,           (206) 553-7970
     CV24-675-RAJ
           Case 2:24-cv-00675-RAJ           Document 9        Filed 08/05/24   Page 4 of 104




 1 “unclaimed.” True and correct copies of the associated delivery records, are attached in
 2 Exhibit I.
 3         b.      Andrey Balun and Natasha Balun: The United States sent Notices to three
 4 additional addresses associated with the Baluns in Nevada, and Washington. See Exhibit
 5 H, p. 1. U.S. Postal Service tracking records indicate all three Notices were delivered on
 6 or about June 17, 2024. True and correct copies of the associated delivery records, are
 7 attached in Exhibit J.
 8         5.      True and correct copies of the Notices, associated delivery records, and
 9 documents from the Washington Secretary of State are attached as Exhibits A – L.
10         I declare under penalty of perjury that the foregoing is true and correct.
11
12         DATED this 5th day of August, 2024.
13
                                                   s/Krista K. Bush
14
                                                   KRISTA K. BUSH
15                                                 Assistant United States Attorney
                                                   United States Attorney’s Office
16                                                 700 Stewart St., Suite 5220
17                                                 Seattle, WA 98101
                                                   (206) 553-2242
18                                                 Fax: 206-553-6934
                                                   Krista.Bush@usdoj.gov
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27
     Declaration of AUSA Krista K. Bush                                    UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     in Support of Request for Clerk of Court to Enter Default - 4          SEATTLE, WASHINGTON 98101
     United States v. Approximately 74,000 Items of Stolen Merchandise,           (206) 553-7970
     CV24-675-RAJ
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             EXHIBIT A
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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9
10 UNITED STATES OF AMERICA,                                  NO. CV24-675
11                         Plaintiff,
12                                                            NOTICE OF VERIFIED
                      v.                                      COMPLAINT FOR
13                                                            FORFEITURE IN REM
   APPROXIMATELY 74,000 ITEMS OF
14 STOLEN MERCHANDISE,
15
16                         Defendant.

17 Direct notice is hereby provided to:
18     1. Vitaliy Bobak and Nadezhda Bobak
          183 SW 359th PL
19
          Federal Way, WA 98023-7405
20
       2. Vitaliy Bobak and Nadezhda Bobak
21        31723 47th CT S
22        Auburn, WA 98001-3730

23     3. Vitaliy Bobak and Nadezhda Bobak
          38006 36th PL S
24
          Auburn, WA 98001-8753
25
       4. Vitaliy Bobak and Nadezhda Bobak
26        1024 Central Ave N, Apt J6
27        Kent, WA 98032-3077

     Notice of Verified Complaint for Forfeiture in Rem - 1                   UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
     United States v. Approx. 74,000 Items of Stolen Merchandise               SEATTLE, WASHINGTON 98101
                                                 Exhibit A, p. 1                     (206) 553-7970
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 1
        5. MBA Trading LLC
 2         13622 1st Ave. S
           Burien, WA 98168
 3
 4      6. Medicus LLC, also known as Medikus
           1271 120th Ave. NE
 5         Bellevue, WA 98005
 6
        7. Andrey Balun and Natasha Balun
 7         10688 NE 10th Street, Apt B515
           Bellevue, WA 98004-4736
 8
 9      8. Andrey Balun and Natasha Balun
           12307 SE 315th PL
10         Auburn, WA 98092-0987
11      9. Andrey Balun and Natasha Balun
12         1892 Casterbridge Dr.
           Roseville, CA 95747-4908
13
14      10. Andrey Balun and Natasha Balun
            10650 NE 9th Pl, Unit 1726
15          Bellevue, WA 98004-5074
16      11. Andrey Balun and Natasha Balun
17          40650 NE 9th PL, Unit 2422
            Bellevue, WA 98004-5081
18
19      12. Andrey Balun and Natasha Balun
            4425 Issaquah Pine Lake Rd SE, Apt X6
20          Sammamish, WA 98075-6218
21      13. Andrey Balun
22          1969 Canyon Breeze Dr.
            Las Vegas, NV 89134-0328
23
        14. Natasha Balun
24
            1375 121 Ave NE, Apt 404
25          Bellevue, WA 98005-5069
26 //
27
     Notice of Verified Complaint for Forfeiture in Rem - 2         UNITED STATES ATTORNEY
                                                                   700 STEWART STREET, SUITE 5220
     United States v. Approx. 74,000 Items of Stolen Merchandise     SEATTLE, WASHINGTON 98101
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 1         On May 15, 2024, Assistant United States Attorney (“AUSA”) Krista K. Bush
 2 filed, in the United States District Court for the Western District of Washington, a civil
 3 Verified Complaint for Forfeiture in Rem (“Complaint”) that seeks seizure and forfeiture
 4 of the following Defendant Property on behalf of Plaintiff United States of America:
 5         a.      Approximately 74,000 items of stolen merchandise, seized on or about
 6 December 19, 2023, from the following locations:
 7                 (1)     a “We Buy Gold, Silver, and Electronics” storefront located at
 8                         13622 1st Avenue South, Burien, Washington, an inventory for
 9                         which is appended as Attachment A to the Complaint;
10                 (2)     an adjacent commercial warehouse located at 13620 1st Avenue
11                         South, Burien, Washington, an inventory for which is appended as
12                         Attachment B to the Complaint;
13                 (3)     a residence located at 183 SW 359th Place, Federal Way,
14                         Washington, an inventory for which is appended as Attachment C to
15                         the Complaint.
16 See Dkt. No. 1.
17         The Defendant Property was seized by the Homeland Security Investigations
18 pursuant to the execution of federal search warrants on December 19, 2023.
19         The Complaint alleges the Defendant Property constitutes or is derived from
20 proceeds of Sale or Receipt of Stolen Property, in violation of Title 18, United States
21 Code, Section 2315, and Interstate Transportation of Stolen Property, in violation of
22 Title 18, United States Code, Section 2314, and is subject to forfeiture pursuant to
23 Title 18, United States Code, Section 981(a)(1)(C).
24         To avoid forfeiture of the Defendant Property, any person claiming an interest in it
25 must file a claim in the manner set forth in the Federal Rules of Civil Procedure,
26 Supplemental Rule G(5) (governing forfeiture actions in rem). As provided in
27 Supplemental Rules G(4) and (5), any such claim must be filed no later than 35 days after
     Notice of Verified Complaint for Forfeiture in Rem - 3            UNITED STATES ATTORNEY
                                                                      700 STEWART STREET, SUITE 5220
     United States v. Approx. 74,000 Items of Stolen Merchandise        SEATTLE, WASHINGTON 98101
                                                 Exhibit A, p. 3              (206) 553-7970
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 1 the date of this notice; or, for interested parties not listed above, no later than 60 days
 2 after the first day of publication of this notice on an official internet government
 3 forfeiture site (currently, www.forfeiture.gov). As provided in Supplemental Rule
 4 G(5)(a)(i), any claim must: (A) identify the specific property claimed; (B) identify the
 5 claimant and state the claimant’s interest in the property; (C) be signed by the claimant
 6 under penalty of perjury; and, (D) be served on the above-identified Assistant
 7 United States Attorney. Any person filing a claim must also file and serve an Answer to
 8 the Complaint, or a motion pursuant to Federal Rule of Civil Procedure 12, no later than
 9 21 days after filing the claim, as required by Supplemental Rule G(5)(b).
10         Claims may be filed with the Clerk’s Office at the United States District Court for
11 the Western District of Washington, 700 Stewart Street, Lobby Level, Seattle,
12 Washington, 98101. A copy of any claim should be served on the United States
13 Attorney’s Office, Attention: AUSA Krista K. Bush – Asset Forfeiture Unit, 700 Stewart
14 Street, Suite 5220, Seattle, Washington 98101.
15         Additional rules governing this forfeiture action may be found at 18 U.S.C. § 983.
16
           DATED this 16th day of May, 2024.
17
18                                                 Respectfully submitted,
19                                                 TESSA M. GORMAN
                                                   United States Attorney
20
21                                                 s/Krista K. Bush
                                                   KRISTA K. BUSH
22                                                 Assistant United States Attorney
23                                                 United States Attorney’s Office
                                                   700 Stewart Street, Suite 5220
24                                                 Seattle, Washington 98101
                                                   Phone: (206) 553-2242
25                                                 Fax: (206) 553-6934
26                                                 Krista.Bush@usdoj.gov

27
     Notice of Verified Complaint for Forfeiture in Rem - 4               UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     United States v. Approx. 74,000 Items of Stolen Merchandise           SEATTLE, WASHINGTON 98101
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Case 2:24-cv-00675-RAJ   Document 9   Filed 08/05/24   Page 10 of 104




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   USPS Tracking
                                           ®                                                                      FAQs 




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   Tracking Number:

   9589071052700915381024
         Copy           Add to Informed Delivery (https://informeddelivery.usps.com/)




         Latest Update
         Your item has been delivered to an agent for final delivery in SEATTLE, WA 98101 on June 17, 2024 at
         3:22 pm.



         Get More Out of USPS Tracking:
              USPS Tracking Plus®


          Delivered to Agent




                                                                                                                       Feedback
          Delivered to Agent for Final Delivery
          SEATTLE, WA 98101
          June 17, 2024, 3:22 pm


          Departed USPS Regional Facility
          SEATTLE WA DISTRIBUTION CENTER
          June 16, 2024, 7:16 am


          Arrived at USPS Regional Facility
          SEATTLE WA DISTRIBUTION CENTER
          June 15, 2024, 3:12 pm


          Unclaimed/Being Returned to Sender
          AUBURN, WA 98002
          June 12, 2024, 12:35 pm


          Reminder to Schedule Redelivery of your item
          May 22, 2024


          Notice Left (No Authorized Recipient Available)
                                                                  Exhibit B, p. 7

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          AUBURN, WA 98092
          May 17, 2024, 5:06 pm


          Out for Delivery
          AUBURN, WA 98092
          May 17, 2024, 6:10 am


          Arrived at Post Office
          AUBURN, WA 98002
          May 17, 2024, 4:19 am


          Arrived at USPS Facility
          AUBURN, WA 98002
          May 17, 2024, 3:59 am


          Departed USPS Regional Facility
          SEATTLE WA DISTRIBUTION CENTER ANNEX
          May 17, 2024, 3:43 am


          Arrived at USPS Regional Facility
          SEATTLE WA DISTRIBUTION CENTER ANNEX
          May 17, 2024, 1:41 am


          Departed USPS Regional Facility
          SEATTLE WA DISTRIBUTION CENTER
          May 17, 2024, 1:08 am


          Arrived at USPS Regional Origin Facility
          SEATTLE WA DISTRIBUTION CENTER
          May 17, 2024, 12:13 am


          USPS picked up item
          SEATTLE, WA 98101
          May 16, 2024, 3:00 pm


          Hide Tracking History



     What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


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       Text & Email Updates


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       USPS Tracking Plus®
                                                                   Exhibit B, p. 8


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         3:23 pm.



         Get More Out of USPS Tracking:
              USPS Tracking Plus®


          Delivered to Agent




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          Departed USPS Regional Facility
          SEATTLE WA DISTRIBUTION CENTER
          June 16, 2024, 7:16 am


          Unclaimed/Being Returned to Sender
          AUBURN, WA 98002
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          Reminder to Schedule Redelivery of your item
          May 22, 2024


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          Arrived at Post Office
          AUBURN, WA 98002
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          Arrived at USPS Regional Origin Facility
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          SEATTLE, WA 98101
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     What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


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   Track Another Package

     Enter tracking or barcode numbers




                                                   Need More Help?
                                  Contact USPS Tracking support for further assistance.


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    98101.



    Get More Out of USPS Tracking:




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        USPS Tracking Plus®


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    SEATTLE, WA 98101
    June 10, 2024, 12:04 pm


    Departed USPS Regional Facility
    SEATTLE WA DISTRIBUTION CENTER
    June 8, 2024, 7:21 am


    Arrived at USPS Regional Facility
    SEATTLE WA DISTRIBUTION CENTER
    June 7, 2024, 3:30 pm


    Reminder to Schedule Redelivery of your item
    May 30, 2024


    Notice Left (No Authorized Recipient Available)
    KENT, WA 98032
    May 25, 2024, 11:02 am


    Addressee Unknown
                                                   Exhibit C, p. 13
           Case 2:24-cv-00675-RAJ        Document 9         Filed 08/05/24   Page 50 of 104
   KENT, WA 98032
   May 22, 2024, 5:49 pm


   Out for Delivery
   KENT, WA 98032
   May 17, 2024, 7:44 am


   Arrived at Post Office
   KENT, WA 98031
   May 17, 2024, 7:33 am


   Arrived at USPS Facility
   KENT, WA 98031
   May 17, 2024, 5:31 am


   Departed USPS Regional Facility
   SEATTLE WA DISTRIBUTION CENTER ANNEX
   May 17, 2024, 3:35 am


   Arrived at USPS Regional Facility
   SEATTLE WA DISTRIBUTION CENTER ANNEX
   May 17, 2024, 3:15 am


   Departed USPS Regional Facility
   SEATTLE WA DISTRIBUTION CENTER
   May 17, 2024, 2:46 am


   Arrived at USPS Regional Origin Facility
   SEATTLE WA DISTRIBUTION CENTER
   May 17, 2024, 12:11 am


   USPS picked up item
   SEATTLE, WA 98101
   May 16, 2024, 3:00 pm


   Hide Tracking History



What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


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 Text & Email Updates


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Case 2:24-cv-00675-RAJ   Document 9   Filed 08/05/24   Page 52 of 104




                EXHIBIT D
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            Case 2:24-cv-00675-RAJ          Document 9           Filed 08/05/24   Page 54 of 104


USPS Tracking
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Tracking Number:

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    Latest Update
    Your item has been delivered to the original sender at 12:04 pm on June 10, 2024 in SEATTLE, WA 98101.



    Get More Out of USPS Tracking:
        USPS Tracking Plus®




                                                                                                             Feedback
    Delivered
    Delivered, To Original Sender
    SEATTLE, WA 98101
    June 10, 2024, 12:04 pm


    Arrived at Post Office
    SEATTLE, WA 98101
    June 8, 2024, 6:10 am


    In Transit to Next Facility
    June 6, 2024


    Return to Sender Processed
    SEATTLE, WA 98168
    May 28, 2024, 1:27 pm


    Departed USPS Regional Facility
    SEATTLE WA DISTRIBUTION CENTER
    May 24, 2024, 7:18 am


    Arrived at USPS Regional Facility
    SEATTLE WA DISTRIBUTION CENTER
                                                   Exhibit D, p. 2
              Case 2:24-cv-00675-RAJ       Document 9          Filed 08/05/24   Page 55 of 104
     May 23, 2024, 1:26 pm


     Processing at USPS Facility
     SEATTLE WA PACKAGE SORTING CENTER
     May 17, 2024, 7:18 pm


     Out for Delivery
     SEATTLE, WA 98168
     May 17, 2024, 6:10 am


     Arrived at Post Office
     SEATTLE, WA 98188
     May 17, 2024, 5:04 am


     Arrived at USPS Regional Facility
     SEATTLE WA PACKAGE SORTING CENTER
     May 17, 2024, 2:23 am


     Arrived at USPS Regional Origin Facility
     SEATTLE WA DISTRIBUTION CENTER
     May 17, 2024, 12:11 am


     USPS picked up item
     SEATTLE, WA 98101
     May 16, 2024, 3:00 pm


     Hide Tracking History



 What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


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   Text & Email Updates


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   USPS Tracking Plus®


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   Product Information


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Track Another Package

 Enter tracking or barcode numbers

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Case 2:24-cv-00675-RAJ   Document 9   Filed 08/05/24   Page 57 of 104




                 EXHIBIT E
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Case 2:24-cv-00675-RAJ   Document 9   Filed 08/05/24   Page 61 of 104




              EXHIBIT F
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            Case 2:24-cv-00675-RAJ         Document 9            Filed 08/05/24   Page 63 of 104


USPS Tracking
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Tracking Number:

9589071052700915380973
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    Latest Update
    Your item could not be delivered on June 6, 2024 at 1:36 pm in LAS VEGAS, NV 89134. It was held for
    the required number of days and is being returned to the sender.



    Get More Out of USPS Tracking:




                                                                                                          Feedback
        USPS Tracking Plus®

    Alert
    Unclaimed/Being Returned to Sender
    LAS VEGAS, NV 89134
    June 6, 2024, 1:36 pm


    Reminder to Schedule Redelivery of your item
    May 26, 2024


    Notice Left (No Authorized Recipient Available)
    LAS VEGAS, NV 89134
    May 21, 2024, 4:26 pm


    Out for Delivery
    LAS VEGAS, NV 89134
    May 21, 2024, 6:10 am


    Arrived at Post Office
    LAS VEGAS, NV 89134
    May 21, 2024, 12:38 am


    Arrived at USPS Facility
    LAS VEGAS, NV 89134                            Exhibit F, p. 2
              Case 2:24-cv-00675-RAJ          Document 9          Filed 08/05/24   Page 64 of 104
     May 20, 2024, 5:51 pm


     Departed USPS Regional Facility
     LAS VEGAS NV DISTRIBUTION CENTER
     May 20, 2024, 5:11 pm


     Arrived at USPS Regional Facility
     LAS VEGAS NV DISTRIBUTION CENTER
     May 20, 2024, 11:18 am


     Arrived at USPS Regional Origin Facility
     SEATTLE WA NETWORK DISTRIBUTION CENTER
     May 17, 2024, 3:51 am


     USPS picked up item
     SEATTLE, WA 98101
     May 16, 2024, 3:00 pm


     Hide Tracking History



 What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


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   Text & Email Updates


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   USPS Tracking Plus®


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Track Another Package

 Enter tracking or barcode numbers




                                         Need More Help?
                             Contact USPS Tracking support for further assistance.



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Case 2:24-cv-00675-RAJ   Document 9   Filed 08/05/24   Page 66 of 104




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Case 2:24-cv-00675-RAJ   Document 9   Filed 08/05/24   Page 70 of 104




             EXHIBIT H
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             Case
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                                                       06/11/24 Page 71
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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9
10 UNITED STATES OF AMERICA,                               NO. CV24-675-RAJ
11                         Plaintiff,
12                                                         SECOND NOTICE OF
                      v.                                   VERIFIED COMPLAINT
13                                                         FOR FORFEITURE IN REM
   APPROXIMATELY 74,000 ITEMS OF
14 STOLEN MERCHANDISE,
15
16                         Defendant.

17 Direct notice is hereby provided to:
18     1. Andrey Balun
          1371 120th Ave NE,
19
          Bellevue, WA 98168
20
       2. Andrey Balun
21        1375 121 Ave NE, Apt 404,
22        Bellevue, WA 98005

23     3. Andrey Balun
          333 N Summer Palace Way,
24
          Las Vegas, NV 89144
25
       4. Vitaliy Bobak and Nadezhda Bobak
26        183 SW 359th PL,
27        Federal Way, WA 98023-7405

     Second Notice of Verified Complaint for Forfeiture in Rem - 1      UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
     United States v. Approx. 74,000 Items of Stolen Merchandise;        SEATTLE, WASHINGTON 98101
     CV24-675-RAJ                                  Exhibit H, p.1              (206) 553-7970
          Case
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                                                       06/11/24 Page 72
                                                                     2 ofof5104




 1         On May 15, 2024, Assistant United States Attorney (“AUSA”) Krista K. Bush
 2 filed, in the United States District Court for the Western District of Washington, a civil
 3 Verified Complaint for Forfeiture in Rem (“Complaint”) that seeks seizure and forfeiture
 4 of the following Defendant Property on behalf of Plaintiff United States of America:
 5         a.      Approximately 74,000 items of stolen merchandise, seized on or about
 6 December 19, 2023, from the following locations:
 7                 (1)     a “We Buy Gold, Silver, and Electronics” storefront located at
 8                         13622 1st Avenue South, Burien, Washington, an inventory for
 9                         which is appended as Attachment A to the Complaint;
10                 (2)     an adjacent commercial warehouse located at 13620 1st Avenue
11                         South, Burien, Washington, an inventory for which is appended as
12                         Attachment B to the Complaint;
13                 (3)     a residence located at 183 SW 359th Place, Federal Way,
14                         Washington, an inventory for which is appended as Attachment C to
15                         the Complaint.
16 See Dkt. No. 1.
17         The Defendant Property was seized by the Homeland Security Investigations
18 pursuant to the execution of federal search warrants on December 19, 2023.
19         The Complaint alleges the Defendant Property constitutes or is derived from
20 proceeds of Sale or Receipt of Stolen Property, in violation of Title 18, United States
21 Code, Section 2315, and Interstate Transportation of Stolen Property, in violation of
22 Title 18, United States Code, Section 2314, and is subject to forfeiture pursuant to
23 Title 18, United States Code, Section 981(a)(1)(C).
24         On May 16, 2024, the United States served by U.S. Postal Service Certified Mail,
25 the Notice of Verified Complaint (“Notice”) to six potential third parties at 14 addresses.
26 Dkt. No. 2. The United States has since discovered additional addresses for potential third
27 parties that are identified above.
     Second Notice of Verified Complaint for Forfeiture in Rem - 2     UNITED STATES ATTORNEY
                                                                      700 STEWART STREET, SUITE 5220
     United States v. Approx. 74,000 Items of Stolen Merchandise;       SEATTLE, WASHINGTON 98101
     CV24-675-RAJ                                  Exhibit H, p.2             (206) 553-7970
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                                                                     3 ofof5104




 1         To avoid forfeiture of the Defendant Property, any person claiming an interest in it
 2 must file a claim in the manner set forth in the Federal Rules of Civil Procedure,
 3 Supplemental Rule G(5) (governing forfeiture actions in rem). As provided in
 4 Supplemental Rules G(4) and (5), any such claim must be filed no later than 35 days after
 5 the date of this notice; or, for interested parties not listed above, no later than 60 days
 6 after the first day of publication of this notice on an official internet government
 7 forfeiture site (currently, www.forfeiture.gov). As provided in Supplemental Rule
 8 G(5)(a)(i), any claim must: (A) identify the specific property claimed; (B) identify the
 9 claimant and state the claimant’s interest in the property; (C) be signed by the claimant
10 under penalty of perjury; and, (D) be served on the above-identified Assistant
11 United States Attorney. Any person filing a claim must also file and serve an Answer to
12 the Complaint, or a motion pursuant to Federal Rule of Civil Procedure 12, no later than
13 21 days after filing the claim, as required by Supplemental Rule G(5)(b).
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     Second Notice of Verified Complaint for Forfeiture in Rem - 3       UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     United States v. Approx. 74,000 Items of Stolen Merchandise;         SEATTLE, WASHINGTON 98101
     CV24-675-RAJ                                  Exhibit H, p.3               (206) 553-7970
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                                                       06/11/24 Page 74
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 1         Claims may be filed with the Clerk’s Office at the United States District Court for
 2 the Western District of Washington, 700 Stewart Street, Lobby Level, Seattle,
 3 Washington, 98101. A copy of any claim should be served on the United States
 4 Attorney’s Office, Attention: AUSA Krista K. Bush – Asset Forfeiture Unit, 700 Stewart
 5 Street, Suite 5220, Seattle, Washington 98101.
 6         Additional rules governing this forfeiture action may be found at 18 U.S.C. § 983.
 7
 8         DATED this 11th day of June, 2024.
 9
10
                                                   Respectfully submitted,
11
                                                   TESSA M. GORMAN
12                                                 United States Attorney
13
                                                   s/Krista K. Bush
14                                                 KRISTA K. BUSH
                                                   Assistant United States Attorney
15                                                 United States Attorney’s Office
16                                                 700 Stewart Street, Suite 5220
                                                   Seattle, Washington 98101
17                                                 Phone: (206) 553-2242
                                                   Fax: (206) 553-6934
18                                                 Krista.Bush@usdoj.gov
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     Second Notice of Verified Complaint for Forfeiture in Rem - 4        UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     United States v. Approx. 74,000 Items of Stolen Merchandise;          SEATTLE, WASHINGTON 98101
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 1                                  CERTIFICATE OF SERVICE
 2
 3         I hereby certify that on June 11, 2024, I electronically filed the foregoing Second
 4 Notice of Verified Complaint for Forfeiture In Rem (“Notice”) with the Clerk of the
 5 Court using the CM/ECF system, which automatically serves the parties of record.
 6         I hereby further certify that on June 11, 2024, I sent the foregoing Second Notice
 7 to the parties at the addresses listed below, by U.S. Certified Mail:
 8
              Andrey Balun                              Andrey Balun
 9
              1371 120th Ave NE,                        1375 121 Ave NE, Apt 404,
10            Bellevue, WA 98168                        Bellevue, WA 98005
11
              Andrey Balun                              Vitaliy Bobak and Nadezhda Bobak
12            333 N Summer Palace Way,                  183 SW 359th PL,
              Las Vegas, NV 89144                       Federal Way, WA 98023-7405
13
14
15                                                         s/Hannah G. Williams
16                                                         HANNAH G. WILLIAMS
                                                           FSA Supervisory Paralegal, Contractor
17                                                         United States Attorney’s Office
                                                           700 Stewart Street, Suite 5220
18
                                                           Seattle, Washington 98101
19                                                         (206) 553-2242
                                                           Fax: 206-553-6934
20                                                         Hannah.Williams2@usdoj.gov
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     Second Notice of Verified Complaint for Forfeiture in Rem - 5         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Approx. 74,000 Items of Stolen Merchandise;           SEATTLE, WASHINGTON 98101
     CV24-675-RAJ                                  Exhibit H, p.5                 (206) 553-7970
Case 2:24-cv-00675-RAJ   Document 9   Filed 08/05/24   Page 76 of 104




                 EXHIBIT I
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Case 2:24-cv-00675-RAJ   Document 9             Filed 08/05/24   Page 79 of 104




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                 EXHIBIT J
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   USPS Tracking
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         Copy            Add to Informed Delivery (https://informeddelivery.usps.com/)




         Latest Update
         Your item was delivered to an individual at the address at 11:50 am on June 17, 2024 in LAS VEGAS, NV
         89134.



         Get More Out of USPS Tracking:




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              USPS Tracking Plus®


          Delivered
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          LAS VEGAS, NV 89134
          June 17, 2024, 11:50 am


          Notice Left (No Authorized Recipient Available)
          LAS VEGAS, NV 89144
          June 15, 2024, 3:01 pm


          Out for Delivery
          LAS VEGAS, NV 89144
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          LAS VEGAS, NV 89134
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          LAS VEGAS NV DISTRIBUTION CENTER
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          Arrived at USPS Regional Facility
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          SALT LAKE CITY UT NETWORK DISTRIBUTION CENTER
          June 14, 2024, 5:04 am


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          SALT LAKE CITY UT NETWORK DISTRIBUTION CENTER
          June 14, 2024, 4:55 am


          Departed USPS Regional Facility
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          SALT LAKE CITY DISTRIBUTION CENTER
          June 14, 2024, 1:09 am


          In Transit to Next Facility
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          In Transit to Next Facility
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          In Transit to Next Facility
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          Departed USPS Regional Facility
          SEATTLE WA NETWORK DISTRIBUTION CENTER
          June 13, 2024, 7:15 am


          Arrived at USPS Regional Facility
          SEATTLE WA NETWORK DISTRIBUTION CENTER
          June 13, 2024, 6:36 am


          In Transit to Next Facility
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          Departed USPS Facility                                  Exhibit J, p. 3

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          KENT, WA 98035
          June 13, 2024, 5:47 am


          Arrived at USPS Origin Facility
          KENT, WA 98035
          June 12, 2024, 11:00 pm


          Departed USPS Regional Facility
          SEATTLE WA NETWORK DISTRIBUTION CENTER
          June 12, 2024, 6:23 pm


          Arrived at USPS Regional Origin Facility
          SEATTLE WA NETWORK DISTRIBUTION CENTER
          June 12, 2024, 12:08 pm


          USPS picked up item
          SEATTLE, WA 98101
          June 11, 2024, 3:03 pm


          Hide Tracking History



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                                  Contact USPS Tracking support for further assistance.
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         BELLEVUE, WA 98005.



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          Delivered
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          BELLEVUE, WA 98005
          June 17, 2024, 12:11 pm


          Rescheduled to Next Delivery Day
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          Out for Delivery
          BELLEVUE, WA 98005
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          Arrived at Post Office
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          June 12, 2024, 6:49 am


          Arrived at USPS Facility
          BELLEVUE, WA 98005
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          REDMOND, WA 98052
          June 12, 2024, 5:12 am


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          SEATTLE WA DISTRIBUTION CENTER
          June 12, 2024, 4:18 am


          Arrived at USPS Regional Origin Facility
          SEATTLE WA DISTRIBUTION CENTER
          June 12, 2024, 1:08 am


          USPS picked up item
          SEATTLE, WA 98101
          June 11, 2024, 3:03 pm


          Hide Tracking History



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         Latest Update
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         BELLEVUE, WA 98005.



         Get More Out of USPS Tracking:




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              USPS Tracking Plus®


          Delivered
          Delivered, Front Desk/Reception/Mail Room
          BELLEVUE, WA 98005
          June 17, 2024, 12:11 pm


          Rescheduled to Next Delivery Day
          BELLEVUE, WA 98005
          June 12, 2024, 11:23 am


          Out for Delivery
          BELLEVUE, WA 98005
          June 12, 2024, 7:00 am


          Arrived at Post Office
          BELLEVUE, WA 98005
          June 12, 2024, 6:49 am


          Arrived at USPS Facility
          BELLEVUE, WA 98005
          June 12, 2024, 5:54 am
                                                                  Exhibit J, p. 11

          Departed USPS Facility
https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9589071052700915381161%2C                 1/3
6/20/24, 9:46 AM   Case 2:24-cv-00675-RAJ                Document   9 - USPS
                                                             USPS.com®  FiledTracking®
                                                                               08/05/24Results Page 93 of 104

          REDMOND, WA 98052
          June 12, 2024, 5:12 am


          Arrived at USPS Facility
          REDMOND, WA 98052
          June 12, 2024, 4:57 am


          Departed USPS Regional Facility
          SEATTLE WA DISTRIBUTION CENTER
          June 12, 2024, 4:18 am


          Arrived at USPS Regional Origin Facility
          SEATTLE WA DISTRIBUTION CENTER
          June 12, 2024, 1:10 am


          USPS picked up item
          SEATTLE, WA 98101
          June 11, 2024, 3:02 pm


          Hide Tracking History



     What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                                
       Text & Email Updates


                                                                                                                
       USPS Tracking Plus®


                                                                                                                
       Product Information


                                                              See Less 

   Track Another Package


     Enter tracking or barcode numbers




                                                   Need More Help?
                                  Contact USPS Tracking support for further assistance.

                                                                  Exhibit J, p. 12

https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9589071052700915381161%2C       2/3
Case 2:24-cv-00675-RAJ
 SENDER:                     Document 9COMPLETE
         COMPLETE IHIS SECTION             FiledTHIS
                                                  08/05/24        Page 94 of 104
                                                     SECTION ON DELIVERY

  I Complote ltsms 1,2, and 0.                                                                              E Agent
  a Prlnt your nam6 and address on the rovorse              x                                                   Addrcss6o
      so that we can return the card to you.
  r   Attach thls card to tho back ofthe mallpl6c6,
                                                                            by                        C. Dats of Dellvqry
      or on the front if
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                                                                lf YES, enter dellvery sddreee below:       trNo
      Andrey Balun
                                                                        Exhibit J, p. 13
      1375 l2l Ave NE, APt 404'
      Bellevue, WA 98005
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  Ps Form 3811, July 2020 psN 7530-02-ooo-sos3                                                   Domeslic Return R€oelpt
Case 2:24-cv-00675-RAJ   Document 9   Filed 08/05/24   Page 95 of 104




                EXHIBIT K
                      Case 2:24-cv-00675-RAJ                            Document 9               Filed 08/05/24         Page 96 of 104

                                                                                                                                       Filed
                                                                                                                                Secretary of State
                                                                                                                               State of Washington
                                                                                                                              Date Filed: 11/17/2023
                                                                                                                            Effective Date: 11/17/2023
                                                                                                                               UBI #: 604 233 283




 Amended Annual Report

 BUSINESS INFORMATION

 Business Name:
 MBA TRADING, LLC
 UBI Number:
 604 233 283
 Business Type:
 WA LIMITED LIABILITY COMPANY
 Business Status:
 ACTIVE
 Principal Office Street Address:
 13622 1ST AVE S, BURIEN, WA, 98168-3404, UNITED STATES
 Principal Office Mailing Address:
 13622 1ST AVE S, BURIEN, WA, 98168-3404, UNITED STATES
 Expiration Date:
 03/31/2024
 Jurisdiction:
 UNITED STATES, WASHINGTON
 Formation/Registration Date:
 03/01/2018
 Period of Duration:
 PERPETUAL
 Inactive Date:
 Nature of Business:
 ANY LAWFUL PURPOSE, SECONDHAND DEALER

 REGISTERED AGENT                   RCW 23.95.410

  Registered Agent
                                Street Address                                                        Mailing Address
  Name
                                13622 1ST AVE S, BURIEN, WA, 98168-3404, UNITED                       13622 1ST AVE S, BURIEN, WA, 98168-3404, UNITED
  ANDREY BALUN
                                STATES                                                                STATES

 PRINCIPAL OFFICE

 Phone:
 Email:
 ANDREY@FCBM.COM

This document is a public record. For more information visit www.sos.wa.gov/corps                                         Work Order #: 2023111700746310 - 1
                                                                                                                                   Received Date: 11/17/2023
                                                                                    Exhibit K, p. 1                                Amount Received: $10.00
                      Case 2:24-cv-00675-RAJ                            Document 9               Filed 08/05/24       Page 97 of 104

 Street Address:
 13622 1ST AVE S, BURIEN, WA, 98168-3404, USA
 Mailing Address:
 13622 1ST AVE S, BURIEN, WA, 98168-3404, USA

 GOVERNORS

  Title                                Type                                    Entity Name               First Name               Last Name
  GOVERNOR                             INDIVIDUAL                                                        ANDREY                   BALUN
  GOVERNOR                             INDIVIDUAL                                                        VITALY                   BOBAK

 NATURE OF BUSINESS

           ANY LAWFUL PURPOSE
           SECONDHAND DEALER


 EFFECTIVE DATE
 Effective Date:
 11/17/2023

 CONTROLLING INTEREST
 1. Does this entity own (hold title) real property in Washington, such as land or buildings, including leasehold improvements?
 - No
 2. In the past 12 months, has there been a transfer of at least 16-2/3 percent of the ownership, stock, or other financial interest in the entity?
 - No
    a. If "Yes", in the past 36 months, has there been a transfer of controlling interest (50 percent or greater) of the ownership, stock, or other
 financial interest in the entity?
 - No
 3. If you answered "Yes" to question 2a, has a controlling interest transfer return been filed with the Department of Revenue?
 - No
 You must submit a Controlling Interest Transfer Return form if you answered “Yes” to questions 1 and 2a.

 Failure to report a Controlling Interest Transfer is subject to penalty provisions of RCW 82.45.220.

 For more information on Controlling Interest, visit www.dor.wa.gov/REET.


 RETURN ADDRESS FOR THIS FILING
 Attention:
 Email:
 Address:

 UPLOAD ADDITIONAL DOCUMENTS
 Do you have additional documents to upload? - No

 EMAIL OPT-IN

      By checking this box, I hereby opt into receiving all notifications from the Secretary of State for this entity via email only. I acknowledge that
 I will no longer receive paper notifications.

 AUTHORIZED PERSON

       I am an authorized person.
 Person Type:
 INDIVIDUAL


This document is a public record. For more information visit www.sos.wa.gov/corps                                       Work Order #: 2023111700746310 - 1
                                                                                                                                 Received Date: 11/17/2023
                                                                                    Exhibit K, p. 2                              Amount Received: $10.00
                      Case 2:24-cv-00675-RAJ                            Document 9               Filed 08/05/24   Page 98 of 104

 First Name:
 ANDREY
 Last Name:
 BALUN
 Title:
 MEMBER
       This document is hereby executed under penalty of law and is to the best of my knowledge, true and correct.




This document is a public record. For more information visit www.sos.wa.gov/corps                                   Work Order #: 2023111700746310 - 1
                                                                                                                             Received Date: 11/17/2023
                                                                                    Exhibit K, p. 3                          Amount Received: $10.00
              Case 2:24-cv-00675-RAJ            Document 9           Filed 08/05/24 Page 99 of 104
                                                                                  Corporations and Charities Division
                                                                                       Physical/Overnight address:
                                                                                                  801 Capitol Way S
                                                                                           Olympia, WA 98501-1226
                                                                                                   Mailing address:
                                                                                                      PO Box 40234
                                                                                           Olympia, WA 98504-0234
                                                                                                   Tel: 360.725.0377
                                                                                                    sos.wa.gov/corps
04/01/2024

        MBA TRADING, LLC
        ANDREY BALUN
        13622 1ST AVE S
        BURIEN WA 98168-3404


                              DELINQUENT ANNUAL REPORT NOTICE

Greetings!


UBI #: 604 233 283
Entity Name: MBA TRADING, LLC
The above listed entity has not filed its annual report that was due on 03/31/2024. As a result, the above listed
entity is no longer in active status.
Failure to file the necessary report by 07/31/2024 will result in administrative dissolution or termination of your
registration.
Please verify the registered agent information is correct, including email address and update as needed.

You can file online using the Washington Secretary of State, Corporations and Charities Filing System (CCFS) using
the following website https://www.sos.wa.gov/corps
Sincerely,

Washington Secretary of State
Corporations and Charities Division
corps@sos.wa.gov


Note: If your documents were recently submitted, please disregard this notice. If you have any questions concerning
this matter please contact our office at the address or phone number shown above.




                                                        Exhibit K, p. 4
Case 2:24-cv-00675-RAJ   Document 9   Filed 08/05/24   Page 100 of 104




                 EXHIBIT L
                 Case 2:24-cv-00675-RAJ           Document 9            Filed 08/05/24   Page 101 of 104

                                                                                                          Filed
                                                                                                   Secretary of State
                                                                                                  State of Washington
                                                                                                Date Filed: 05/10/2022
                                                                                               Effective Date: 05/10/2022
                                                                                                  UBI #: 603 488 346


Annual Report

BUSINESS INFORMATION
Business Name:
MEDICUS, LLC
UBI Number:
603 488 346
Business Type:
WA LIMITED LIABILITY COMPANY
Business Status:
ACTIVE
Principal Office Street Address:
1271 120TH AVE NE, BELLEVUE, WA, 98005-2121, UNITED STATES
Principal Office Mailing Address:
1271 120TH AVE NE, BELLEVUE, WA, 98005-2121, UNITED STATES
Expiration Date:
03/31/2023
Jurisdiction:
UNITED STATES, WASHINGTON
Formation/Registration Date:
03/17/2015
Period of Duration:
PERPETUAL
Inactive Date:
Nature of Business:
ANY LAWFUL PURPOSE

REGISTERED AGENT                         RCW 23.95.410
Registered Agent Name          Street Address                                                          Mailing Address
ANDREY BALUN                   11019 NE 26TH PL, BELLEVUE, WA, 98004-2022, UNITED STATES

PRINCIPAL OFFICE
Phone:
Email:
ANDREY@MEDIKUS.COM
Street Address:
1271 120TH AVE NE, BELLEVUE, WA, 98005-2121, USA

This document is a public record. For more information visit www.sos.wa.gov/corps        Work Order #: 2022051000302369 - 1
                                                                                                  Received Date: 05/10/2022
                                                            Exhibit L, p. 1                         Amount Received: $85.00
                  Case 2:24-cv-00675-RAJ               Document 9              Filed 08/05/24        Page 102 of 104

Mailing Address:
1271 120TH AVE NE, BELLEVUE, WA, 98005-2121, USA

GOVERNORS
Title                         Type                           Entity Name                 First Name                Last Name
GOVERNOR                      INDIVIDUAL                                                 ANDREY                    BALUN

NATURE OF BUSINESS
       ANY LAWFUL PURPOSE


EFFECTIVE DATE
Effective Date:
05/10/2022

CONTROLLING INTEREST
1. Does this entity own (hold title) real property in Washington, such as land or buildings, including leasehold improvements?
NO
2. In the past 12 months, has there been a transfer of at least 16-2/3 percent of the ownership, stock, or other financial interest in
the entity?
NO
    a. If "Yes", in the past 36 months, has there been a transfer of controlling interest (50 percent or greater) of the ownership,
stock, or other financial interest in the entity?
NO
3. If you answered "Yes" to question 2a, has a controlling interest transfer return been filed with the Department of Revenue?
NO

You must submit a Controlling Interest Transfer Return form if you answered “yes” to questions 1 and 2a.

Failure to report a Controlling Interest Transfer is subject to penalty provisions of RCW 82.45.220.

For more information on Controlling Interest, visit www.dor.wa.gov/REET.


RETURN ADDRESS FOR THIS FILING
Attention:
Email:
Address:

UPLOAD ADDITIONAL DOCUMENTS
Do you have additional documents to upload? No

EMAIL OPT-IN
   By checking this box, I hereby opt into receiving all notifications from the Secretary of State for this entity via email only. I
acknowledge that I will no longer receive paper notifications.

AUTHORIZED PERSON

This document is a public record. For more information visit www.sos.wa.gov/corps                     Work Order #: 2022051000302369 - 1
                                                                                                               Received Date: 05/10/2022
                                                                  Exhibit L, p. 2
                                                                                                                 Amount Received: $85.00
               Case 2:24-cv-00675-RAJ               Document 9             Filed 08/05/24      Page 103 of 104

   I am an authorized person.
Person Type:
INDIVIDUAL
First Name:
ANDREY
Last Name:
BALUN
Title:
     This document is hereby executed under penalty of law and is to the best of my knowledge, true and correct.




This document is a public record. For more information visit www.sos.wa.gov/corps               Work Order #: 2022051000302369 - 1
                                                                                                         Received Date: 05/10/2022
                                                              Exhibit L, p. 3
                                                                                                           Amount Received: $85.00
             Case 2:24-cv-00675-RAJ              Document 9            Filed 08/05/24     Page 104 of 104
                                                                                          Corporations and Charities Division
                                                                                              Physical/Overnight address:
                                                                                                         801 Capitol Way S
                                                                                                 Olympia, WA 98501-1226
                                                                                                          Mailing address:
                                                                                                             PO Box 40234
                                                                                                 Olympia, WA 98504-0234
                                                                                                          Tel: 360.725.0377
                                                                                                           sos.wa.gov/corps
   08/03/2023

   MEDICUS, LLC
   ANDREY BALUN
   11019 NE 26TH PL
   BELLEVUE WA 98004-2022




                                         ADMINISTRATIVE DISSOLUTION

Greetings!

UBI #: 603 488 346
Entity Name: MEDICUS, LLC

The above listed entity has not filed its annual report that was due on 03/31/2023. As a result, the entity is no longer
in active status.
In accordance with RCW23.95.605-610, the above entity is hereby administratively dissolved as of: 08/03/2023.

This action was taken due to failure of the entity to file a required report within the time set forth by law.

Under RCW 23.95.615, a domestic entity that is administratively dissolved may apply for reinstatement no later than
five (5) years after the effective date of administrative dissolution noted above. RCW 23.95.615 identifies the
requirements for an application for reinstatement.
You can access the Washington Secretary of State, Corporations and Charities Filing System (CCFS) online to reactivate
your entity using the following website https://www.sos.wa.gov/corps

Sincerely,

Washington Secretary of State
Corporations and Charities Division
corps@sos.wa.gov


Note: If your documents were recently submitted, please disregard this notice. If you have any questions concerning
this matter please contact our office at the address or phone number shown above.




                                                          Exhibit L, p. 4
